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17   situated

18
                           UNITED STATE DISTRICT COURT
19                NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO
20
     AARON KUDATSKY, individually and on                )   Case No. 3:19-CV-07647-WHA
21   behalf of all others similarly situated,           )
                                                        )   [PROPOSED] ORDER GRANTING
22                                                      )   PLAINTIFF’S ADMINISTRATIVE
                                   Plaintiff,           )   MOTION TO FILE UNDER SEAL
23                                                      )
                                                        )
24         vs.
                                                        )
                                                        )
25                                                      )
     TYLER TECHNOLOGIES, INC.
                                                        )
26                                                      )
                                   Defendant.
27                                                      )
                                                        )
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                                                    MAST
     [[PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL   US_ACTIVE-154098109.1
     Case 3:19-cv-07647-WHA Document 77-2 Filed 11/16/20 Page 2 of 2



 1          The Court, having considered Plaintiff’s Administrative Motion to File Under Seal, and

 2   compelling reasons that overcome the presumption of public access having been shown, hereby

 3   GRANTS Plaintiff’s Application and ORDERS that the following material shall remain

 4   UNDER SEAL:

 5            (a)   Unredacted Exhibit A to Brome Decl. in Support of Plaintiff’s Administrative

 6                  Motion (Unredacted version of Plaintiff’s Motion for Class Certification); and

 7            (b)   Unredacted Exhibit A to Brome Decl. in Support of Plaintiffs’ Administrative

 8                  Motion (Unredacted version of Exhibits 1 through 5 to Plaintiffs’ Motion for

 9                  Class Certification).

10          The placeholder files of Exhibits A and B shall remain publicly filed consistent with the

11   terms of this Order.

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13   SO ORDERED this ___ day of _____, 2020.
                                                             WILLIAM H. ALSUP
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                                                             United States District Judge
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      [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
